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                      Exhibit
                        A
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                       Expert Report
                             of
                   James T. Wells, PhD, PG
                      L. Everett & Associates, LLC




                              In the matter of:
                              McClurg, et al.
                                      v.
                        Mallinckrodt, Inc., et al.




                               March 31, 2019
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      Expert Report
      of
      James T. Wells, PhD, PG
      L. Everett & Associates, LLC.




      In the matter of:
      McClurg, et al.
      v.
      Mallinckrodt, Inc., et al.




      I declare under penalty of perjury that the following is true and correct, to the best of my
      information and belief. Executed on March 31, 2019 at Santa Barbara, California.




      James T. Wells, PhD, PG
      L. Everett & Associates, LLC
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Section 1. Introduction and Methodology
I have been retained by Humphrey, Farrington & McClain on behalf of certain plaintiffs in this case to
provide scientific input and expert opinions concerning the nature and extent of contamination on and
around the St. Louis Airport Storage Site (SLAPS), the Hazelwood Interim Storage Site (HISS; also
known as the Latty Avenue Site) and properties in the vicinity of these sites, including Coldwater Creek:
all in Missouri. I have also been asked to evaluate the fate and transport mechanisms that led
contamination to spread into the vicinity areas. In particular, for this report, I have been asked to provide
opinions and analysis related to certain information requirements specified in Case Management Order
No. 14 for Future Consolidated Cases Filed Against Cotter Corporation (NSL) and/or Mallinckrodt LLC,
dated October 15, 2018.

In this report, I have described my opinions and the bases for these opinions. In arriving at the opinions
expressed in this report, I have relied upon my education and more than 25 years of experience in
environmental science, hydrogeology and mechanisms of contaminant migration, including the
groundwater, surface water and wind-borne transport which are key areas of impact in this case. I have
also relied upon my review of the types of data and documents commonly relied upon by experts in the
field. The documents relied upon include those cited in this Report and were reviewed by myself or other
staff at L. Everett & Associates, under my direction. I have reviewed thousands of pages of documents
made available by the US Army Corps of Engineers (USACE), Atomic Energy Commission (AEC),
Nuclear Regulatory Commission (NRC), the potentially responsible parties and their consultants, as well
as law firms involved in in this case. Further, I have relied upon reference texts commonly accepted and
held reliable by experts in the fields of environmental science, hydrogeology and contaminant fate and
transport, as well as generally-accepted principles in those fields. I have considered multiple lines of
evidence in my approach as is accepted environmental practice and have also considered alternative
theories and explanations in arriving at these conclusions.

If additional relevant information becomes available, I reserve the right to revise these opinions. I may
also provide supplemental opinions regarding this case, if requested. In addition to the exhibits included
herein, figures, tables and maps included in references cited in this report may be used as trial exhibits.
The documents and data considered in preparation of this report are cited in the text and referenced in
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footnotes. The opinions described in this report are made to a reasonable degree of scientific certainty and
were arrived at using the same methodology I employ in non-litigation projects.

Background and Qualifications for James T. Wells
Currently, I am Principal Geologist and Chief Operating Officer for L. Everett & Associates, LLC, an
environmental hydrogeology and remediation company. I am a Professional Geologist (CA PG #7212),
licensed by the California Board for Engineers, Land Surveyors and Geologists. I received a PhD in
Geological Sciences from the University of Washington in 1990. I received a Master’s of Science Degree
in Geological Sciences from the University of Washington in 1986. I received a Bachelor’s Degree in
Earth Sciences from Dartmouth College in 1981. I have personal knowledge of the matters stated herein.
If called as a witness, I could and would competently testify to the matters set forth in this report.

I have 25 years of professional experience as an environmental geologist. During the course of my career,
I have evaluated soil, soil vapor and groundwater at dozens of sites around the country. My professional
work experience includes conducting subsurface investigations to define the nature and extent of
contamination in soil, air and groundwater, contaminant fate and transport modeling, and evaluating
remediation strategies.

I am a member of the Editorial Board of the journal, Environmental Forensics, a quarterly peer-reviewed
scientific journal of national and international circulation. In this role, I evaluate the work of others
through peer-review of manuscripts submitted for publication to the journal. I also participate in
publication decisions, as well as establishing and maintaining the editorial direction of the journal. I am
the author and coauthor of scientific publications, including forensic review articles in Environmental
Science & Technology (U.K. Edition) Special Issue dedicated to Environmental Forensics.

I was appointed by the State of California Department of Toxic Substances Control and South Coast Air
Quality Management District to serve as the Technical Advisor to the Exide Community Advisory Group.
In this capacity, I serve as technical liaison between community stakeholders and state regulators for this
project involving evaluation and cleanup of up to 10,000 homes impacted by lead emissions from a
secondary lead smelter. I have provided expert testimony on this case before a legislative hearing at the
state capitol in Sacramento. Considering that the principal transport mechanism at Exide was airborne
emissions and dust migration in air, this case shares technical similarities with West Lake Landfill.

For reviewing data and preparing this report, L. Everett & Associates invoices my time at the rate of
$275/hr. My hourly rate for deposition and trial testimony is $500/hr. A complete copy of my resume is
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provided as Appendix A of this report. I have given expert testimony within the last four years, in
deposition or trial, as set forth in my resume.

Summary of Opinions
This is a case about releases of radiological compounds and metals from the St. Louis Airport Storage
Site (SLAPS), the Hazelwood Interim Storage Site (also known as the Latty Avenue Site) and haul roads
to and from these properties. Over the years, radiological and metal constituents have migrated from these
sites by a variety of transport pathways, leading to the contamination of surrounding properties. These so-
called “Vicinity Properties” include Coldwater Creek, which runs near the SLAPS and Latty Avenue
Sites and then continues through an area that has grown into densely developed suburbs of St. Louis,
before discharging to the Missouri River. Over many years, some of the contamination from SLAPS and
Latty Avenue has migrated into Coldwater Creek, as well as onto other neighboring properties. Previous
studies and modeling predictions have shown that transport by windblown dust, transport of radon gas in
air, surface water runoff, sediment transport and groundwater flow are all proven pathways for
contamination to escape into the environment. This report is focused on a specific aspect of the overall
fate and transport process: determining the concentrations of effluent discharges at the boundary of the
SLAPS and Latty Avenue sites allegedly attributable to Mallinckrodt’s and/or Cotter’s operations and
whether such concentrations exceed the effluent limitations found in applicable historical federal
regulations. My opinions for this stage of the case are as follows. Details and the bases for these opinions
are provided in Section 2 of this report.

The SLAPS and Latty Avenue Sites were contaminated with radiological materials and metals and
the contamination persisted even after the waste piles were removed (Opinion 1). As recognized
components of FUSRAP (Formerly Utilized Sites Remedial Action Program), administered by US Army
Copy of Engineers, these sites were clearly contaminated. The mission of FUSRAP is to clean up legacy
radiological contamination generated by activities of the Manhattan Project which developed atomic
weapons in the 1940s and 1950s. Since much of the on-site radioactive material was stored in open waste
piles, exposed to rain and wind, contamination, including radiological materials and metals, has
escaped from the SLAPS and Latty Avenue sites and impacted neighboring properties by a number
of migration pathways (Opinion 2). Over the years, contamination has spread in the air as windblown
dust and radon, via runoff of surface water and surface water sediments, groundwater flow and
resuspension from roads.

Past offsite effluent concentrations in air, water and sediment can be estimated at the boundaries of
SLAPS and Latty Avenue using existing data and modeling (Opinion 3). Past concentrations at the
property boundary are largely dependent on the source concentrations (i.e., the average contaminant
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concentrations of the various waste products that were exposed to the elements at these sites) and
reconstructions of the fate and transport mechanisms that led to mobilization of the contaminants. On-site
and offsite sampling of the soil, water and air can be used to validate these estimates.
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Section 2. Expert Opinions
Opinion 1. The SLAPS and Latty Avenue Sites were contaminated with radiological materials and
metals and the contamination persisted even after the waste piles were removed
The 2005 Record of Decision identifies the following compounds as contaminants of concern (COCs) 1:



                                 Radionuclides                         Metals
                         Radium-226                        Antimony
                         Radium -228                       Arsenic
                         Thorium-228                       Barium
                         Thorium-230                       Cadmium
                         Thorium-232                       Chromium
                         Uranium-234                       Molybdenum
                         Uranium-235                       Nickel
                         Uranium-238                       Selenium
                         Lead-210                          Thallium
                         Protactinium-231                  Uranium
                         Actinium-227                      Vanadium


St. Louis Airport Site
During World War II, Mallinckrodt Chemical Works in downtown St. Louis (under FUSRAP, this facility
is now known as the St. Louis Downtown Site or “SLDS” which was also highly contaminated) played a
role in what we now know as the Manhattan Project to purify uranium for the first nuclear weapons.
Uranium processing at Mallinckrodt continued until about 1957. In 1946, the Manhattan Engineer District
acquired the 21.7-acre tract of land (now known as SLAPS) north of the St. Louis Airport to store
radioactive residues from uranium processing at Mallinckrodt’s downtown facility (see Exhibit 1). These
wastes were essentially mine tailings. Wastes (also sometimes referred to as “raffinates”) from different
stages of the refinement process had different chemical and radiological characteristics and when stored at
SLAPS (and later at Latty Avenue) the different wastes were generally kept separate from one another.
These materials included pitchblende raffinate residues, radium-bearing residues, barium sulfate cake,



1
    USACE, 2005, Record of Decision for the North St. Louis County Sites, Table 2-2.
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Colorado raffinate residues, and contaminated scrap. Some of the residues were stored in bulk on open
ground. Others were stored in drums that were stacked across the site. 2

In 1966 and 1967, most of the stored residues were sold to a private entity for recycling and were
removed from SLAPS (much of this material was moved temporarily to Latty Avenue which is also
known as HISS or the Hazelwood Interim Storage Site in FUSRAP parlance). On-site structures at
SLAPS were razed and demolition debris was buried on the property. Although these activities reduced
the surface dose rate to levels acceptable at the time, buried deposits of uranium-238, radium-226 and
thorium-230 remained on the property.

In 1973, the tract was transferred from the Atomic Energy Commission (AEC) to the City of St. Louis.
US Congress passed a bill in 1984 allowing DOE to reacquire the property from the city for use as a
permanent disposal site for the wastes already on the property, contaminated soil in the surrounding
ditches and the waste from the nearby Latty Avenue Site. DOE ultimately declined to take back the
SLAPS property from the city until a more thorough environmental review was conducted.

Starting in about 1976, Oak Ridge National Lab (ORNL) and its contractors conducted radiological
investigations at SLAPS. 3 This work found offsite contamination in the form of elevated concentrations
of uranium-238 and radium-226 in drainage ditches north and south of McDonnell Boulevard. In 1981,
the drainage ditches were designated for remedial action under FUSRAP. In October 1989, the EPA
designated SLAPS as part of the St. Louis Airport/Hazelwood Interim Storage/Futura Coatings, St. Louis,
MO Superfund site under the Comprehensive Environmental Response, Compensation and Liability Act
(CERCLA). USACE refers to these sites (plus the so-called “Vicinity Properties”) as the North St. Louis
County sites. 4

In 1997, Congress transferred responsibility of FUSRAP to the US Army Corps of Engineers (USACE)
from the Department of Energy. USACE has articulated that the primary goal for cleanup and




2
  Bechtel, 1990, Radiological Characterization Report for FUSRAP Properties in the St. Louis, Missouri Area,
Section 1.
3
  ORNL, 1987. Radiological Survey of Properties in the Vicinity of the Former Cotter Site, Hazelwood/Berkeley,
Missouri. ORNL, 1985. Results of the Mobile Gamma Scanning Activities in Berkeley, Bridgeton, and Hazelwood,
Missouri. Health and Safety Research Division. ORNL, 1986. Results of the Radiation Measurements Taken at
Transportation Routes (LM004) in Hazelwood, Missouri. Bechtel, 1983, Radiological Survey Of The Ditches At
The St. Louis Airport Storage Site.
4
  USACE, 2005, Record of Decision for the North St. Louis County Sites.
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management of SLAPS is to restrict the release of contaminated materials and minimize their potential
impact on human health, wildlife and the environment. 5

In 1997, an interim Engineering Evaluation/Cost Analysis (EE/CA) proposed the removal of radioactive
wastes immediately adjacent to Coldwater Creek at the West End of SLAPS and recommended that this
material be shipped to a licensed, out-of-state disposal facility. 6 The purpose of this action was to
minimize the potential for migration of contaminated material to the creek while the more comprehensive
sitewide remediation could be planned and carried out. This removal action resulted in the disposal of
5,100 cubic yards of contaminated material that was nearest to the creek. 7

USACE also began groundwater studies for SLAPS in the late 1990s by installing groundwater
monitoring wells, assessing groundwater flow directions and testing groundwater samples for radiological
and chemical contaminants. In 1999, USACE issued another EE/CA proposing measures to stabilize on-
site material and soil on the adjacent ballfields until a more comprehensive cleanup could be achieved. 8
This plan called for the excavation of material exceeding radium-226 and thorium-230 concentrations of 5
pCi/g above background in the near-surface soil (top 6 inches as averaged over a 100 square-meter area);
and 15 pCi/g above background for deeper soil. Soil with uranium-238 in excess of 50 pCi/g above
background was also targeted for cleanup. At this time USACE also made efforts to control off-site
migration of contamination, including surface water runoff. This included construction of a sedimentation
basin on the west end of the site, near Coldwater Creek. Interim remediation work at SLAPS (under the
EE/CA) continued until 2005. 9

A full-scale feasibility study was completed in 2003 10 and subsequently, the Record of Decision (ROD)
was issued in 2005 which documented objectives for full-scale remediation of all North St. Louis-area
FUSRAP sites. 11 The final remedy consisted of excavation to achieve remediation goals for near-surface
soils, subsurface soils and stream sediment in and around Coldwater Creek. Overall, more than 600,000
cubic yards of radiologically contaminated material was removed from SLAPS. 12 For context, a typical

5
  USACE, 2003, Proposed Plan for the North St. Louis County Sites, p. 2.
6
  DOE, September 1997, St. Louis Airport Site (SLAPS) Interim Action Engineering Evaluation/Cost Analysis
(EE/CA) St. Louis, Missouri, DOE/OR-21950-1026.
7
  USACE, 2005, Record of Decision for the North St. Louis County Sites, p. 2-6.
8
  USACE, 1998, Engineering Evaluation/Cost Analysis (EE/CA) and Responsiveness Summary for the St. Louis
Airport Site (SLAPS) and Action Memorandum.
9
  USACE FUSRAP website: https://www.mvs.usace.army.mil/Missions/FUSRAP/SLAPS.aspx,
accessed on March 19, 2019.
10
   USACE, May 2003, Feasibility Study For The St. Louis North County Site.
11
   USACE, 2005, Record of Decision for the North St. Louis County Sites.
12
   USACE FUSRAP website: https://www.mvs.usace.army.mil/Missions/FUSRAP/SLAPS.aspx,
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load for a dump truck is about 15 cubic yards, so more than 40,000 dump truck loads of radioactive
material was removed from the SLAPS site over the years. USACE still conducts site monitoring at
SLAPS which is documented in annual monitoring reports. 13

For Superfund sites that leave contamination on-site or that continue for many years, five-year reviews
are conducted, as mandated by CERCLA. The purpose of a five-year review is to evaluate the
implementation and performance of a remedy to determine if the remedy is or will be protective of human
health and the environment. 14 Thus far, Five-Year Review Reports have been issued in 2004, 2010 and
2015. 15

Latty Avenue Site
In 1966, uranium processing wastes from the Mallinckrodt Chemical Works that had been stored at
SLAPS were purchased by the Continental Mining and Milling Company and moved to a storage site on
Latty Avenue (see Exhibit 1). 16 Wastes included in this transfer included 74,000 tons of Belgian Congo
pitchblende raffinate containing approximately 13 tons of uranium; 32,500 tons of Colorado raffinate
containing roughly 48 tons of uranium; and 8,700 tons of leached barium sulfate containing about 7 tons
of uranium. Some of the material was then dried and shipped to Cotter Corporation’s ore processing mill
in Canon City, Colorado. The material remaining at the Latty Avenue storage site was sold to Cotter
Corporation in 1969 and shipments to Canon City continued through 1970. However, because it could not
be economically processed for reclamation, the 8,700 tons of leached barium sulfate (and some other
wastes), remained at Latty Avenue. In 1973, this remaining uranium processing waste was mixed with
approximately 39,000 tons of soil from Latty Avenue and transported offsite. In 1974, the AEC noted that
Cotter’s disposition of the leached barium sulfate waste from Latty Avenue was improper: “The disposal
does not appear to be within the intent of the Commissions’ regulation, 10 CFR Part 40, to allow
alteration of the physical nature of Source material (i.e. dilution of solids with nonradioactive source
material) in order to obtain a physical mixture which would no longer be subjected to licensing by the
Commission.” 17


accessed on March 19, 2019.
13
   See, for example, USACE, 2018, North St. Louis County Sites Annual Environmental Monitoring Data And
Analysis Report For Calendar Year 2017.
14
   EPA, 2001, Comprehensive Five-Year Review Guidance, EPA 540-R-01-007, p. 1-1.
15
   USACE, 2004, Initial Five-Year Review Report for Formerly Utilized Sites Remedial Action Program (FUSRAP)
St. Louis Sites, St. Louis, Missouri; USACE, 2010, Second Five-Year Review Report for Formerly Utilized Sites
Remedial Action Program (FUSRAP) St. Louis Sites, St. Louis, Missouri; USACE, 2015, Five-Year Review Report
Third Five-Year Review Report For Formerly Utilized Sites Remedial Action Program (FUSRAP) St. Louis Sites.
16
   USACE, 2005, Record of Decision for the North St. Louis County Sites, p. 2-3 to 2-4.
17
   AEC, November 1, 1974, Letter to Cotter Corporation, p. 2
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Oak Ridge National Labs (ORNL) performed a radiological characterization at Latty Avenue in 1990.18
Thorium and radium contamination in excess of federal guidelines was found in and around the buildings
and in the soil to depths of 18 inches. Subsequently, in preparing the property for use, the owner
demolished one building and excavated approximately 13,000 cubic yards of contaminated soil from the
western half of the property, which was simply stockpiled on the eastern portion of the property. This
began a second phase for Latty Avenue as an interim waste disposal facility: accepting waste from
surrounding FUSRAP activities.

An additional 14,000 cubic yards of contaminated soil, from cleanup along Latty Avenue in 1984 and
1985 and from an area used for office trailers and a decontamination pad, was added to the pile.
Approximately 4,600 cubic yards of contaminated soil was stored adjacent to the existing pile; the soil
had been excavated during road and drainage improvements along Latty Avenue in support of a
municipal storm sewer project. A total of 32,000 cubic yards of contaminated soil was stored on the
property in the 1980s. 19

In 1981, Oak Ridge Associated Universities conducted a radiological characterization of the waste pile
and surveyed portions of the northern and eastern vicinity properties for radioactivity. 20 Levels of
contamination (principally thorium-230) similar to those on the pile were found in both areas. As a
follow-up, ORNL conducted offsite radiological surveys of roadways in the vicinity of Latty Avenue; 21
results indicated contamination in excess of federal guidelines along the road beyond Hazelwood Avenue.
Properties adjacent to HISS were also found to be contaminated in excess of guidelines. Soon after,
Congress added the Latty Avenue properties to FUSRAP in order to expedite decontamination.

In October 1989, the Environmental Protection Agency (EPA) designated a Superfund site in this area
that included the HISS/FUTURA properties, thus subsequent cleanup was to proceed under CERCLA
guidelines. In 1992, an Engineering Evaluation/Cost Analysis (EE/CA) for the proposed decontamination
of HISS and impacted soil from three adjacent Latty properties was published by USACE. 22 The EE/CA



18
   ORNL, 1990, Radiological Characterization Report for FUSRAP Properties in the St. Louis. Missouri, Area.
19
   USACE FUSRAP website: https://www.mvs.usace.army.mil/Missions/FUSRAP/HISS/, accessed March, 20,
2019.
20
   Oak Ridge Associated Universities, 1981, Radiological Evaluation of Decontamination Debris Located at the
Futura Chemical Co. Facility in Hazelwood, MO.
21
   ORNL, 1991, Results of Mobile Gamma Scanning Activities in St. Louis, Missouri; ORNL, 1986, Results of the
Radiation Measurements Taken at Transportation Routes in Hazelwood, Missouri; ORNL, 1985, Results of the
Mobile Gamma Scanning Activities in Berkeley, Bridgeton, and Hazelwood, Missouri.
22
   USACE, 1992, Engineering Evaluation/Cost Analysis-Environmental Assessment for the Proposed
Decontamination of Properties in the Vicinity of the Hazelwood Interim Storage Site Hazelwood, Missouri.
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called for any contaminated soil excavated from the site to be shipped to an appropriately-licensed out-of-
state disposal facility.

In 1996, the owner of 9150 Latty Avenue, located to the east of HISS, expanded their facility and
stockpiled about 8,000 cubic yards of contaminated soil. This stockpile, known as the Eastern Pile, was
located on the southwestern corner of the property.

In March 1998, USACE prepared an EE/CA proposing to remove the waste piles and impacted soil from
three adjacent Latty Avenue properties until a comprehensive cleanup could be achieved.23 USACE
started waste and soil removal in spring 2000 and completed this work in 2001. Over 52,000 cubic yards
of contaminated material was removed and transported for disposal at an out-of-state disposal facility.

The subsequent 2005 ROD addressed this site as well as SLAPS and the SLAPS Vicinity Properties. 24
The final remedy consisted of excavation to achieve remediation goals for near-surface soils, subsurface
soils and stream sediment in and around Coldwater Creek. From 2010-2013, USACE largely focused on
characterizing and cleaning up the 148 Vicinity Properties that had been identified as containing or
potentially containing contamination that had migrated from SLAPS, Latty Avenue and/or historical haul
roads. 25

Opinion 2. Contamination including radiological materials and metals has escaped from the
landfill and impacted neighboring properties by a number of migration pathways
There are a number of physical fate and transport processes that contributed to the release of
contamination from SLAPS and Latty Avenue, impacting Coldwater Creek and other properties. Over the
years, contamination has spread via runoff of contaminated surface water and surface water sediments, in
the air as windblown dust and radon and via groundwater flow. In addition, contamination was released to
the environment via spillage along haul roads to and from SLAPS and Latty Avenue. This roadside
contamination was also subject to resuspension and redistribution to locations more distant from the
roadways by traffic and wind. In accordance with the Scheduling Order, contaminant transport by surface
water runoff, airborne particulates and radon in air are addressed in this report. I reserve the right to
address other transport mechanisms in the future, which were also contributors to offsite exposure of
radionuclides and metals from these facilities. Of particular note, researchers have concluded that an
important exposure pathway at this site is transport and redistribution of contaminated sediments down


23
   USACE, 1998, Engineering Evaluation/Cost Analysis (EE/CA) for the Hazelwood Interim Storage Site (HISS).
24
   USACE, 2005, Record of Decision for the North St. Louis County Sites.
25
   USACE, 2015, Five-Year Review Report Third Five-Year Review Report For Formerly Utilized Sites Remedial
Action Program (FUSRAP) St. Louis Sites.
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Coldwater Creek and its floodplain (especially during flood events which had the potential to deposit
contaminated sediments directly into the yards of residential properties that abut the creek). 26 The
scheduling order does not ask about the sediment transport exposure pathway so it is not addressed in this
report, but will likely be important as the case proceeds. For example, in the 2003 Feasibility Study,
USACE describes sediment contamination as follows:

        “Concentrations of Th-230 in sediment ranged from 0.2 to 1400 pCi/g, with the
        corresponding concentrations of U-238, and Ra-226 ranging from background to 10.9,
        and background to 25.1, respectively. Sediment with elevated levels of radioactive
        material is intermittently located in creek bends where natural settling would occur.
        Contamination levels are highest near SLAPS and HISS, but decrease greatly
        downstream.” 27

Mallinckrodt and Cotter would have been aware of this issue because AEC had observed and reported
uncontrolled releases of contaminated sediment at least by 1948. In a report by entitled, “Uranium
Contamination at Airport Storage Area, St. Louis, Missouri, AEC identified “mud samples” adjacent to
what is now known as the SLAPS site with uranium concentrations 190 times that of the normal uranium
content in soil. 28 Again, I limit my opinions in accordance with the Scheduling Order to contaminant
transport by surface water runoff, airborne particulates and radon in air. But what is clear from my initial
review, including the inspection reports, is that there were serious violations of regulations at both sites.
In fact, both Mallinckrodt and Cotter engaged in a pattern and practice of failing to act with appropriate
care, directly leading to releases of contamination in excess of federal limits. I reserve the right to address
these matters in the future.

Another transport pathway is purposeful removal of waste or contaminated soil from SLAPS for use as
fill at neighboring sites. I do not know how prevalent this practice was, but there is a troubling record of
contaminated soil apparently being used to build a ramp to a parking garage at the St. Louis Airport. 29 To
my knowledge, there has never been a serious investigation into whether AEC, Mallinckrodt and/or
Cotter allowed other entities to remove wastes from SLAPS or Latty Avenue for use as fill in construction
projects.


26
   SAIC, 1993b. Evaluation of Contaminated Sediment Transport in Coldwater Creek, St. Louis, Missouri; USACE,
2003, Feasibility Study for the St. Louis North County Site.
27
   USACE, 2003, Feasibility Study for the St. Louis North County Site, p. 2-59.
28
   AEC, November 1, 1948, Uranium Contamination at Airport Storage Area, St. Louis, Missouri, p. 2.
29
   DOE, January 20, 1989, Letter to St. Louis Airport Authority re: Contaminated Soil Beneath Parking Garage
Ramp.
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Opinion 3. Past offsite effluent concentrations air, water and sediment can be estimated at the
boundaries of SLAPS and Latty Avenue using existing data and modeling
The Case Management Order requires plaintiffs to determine the concentrations of effluent discharges at
the boundary of the SLAPS and Latty Avenue sites allegedly attributable to Mallinckrodt’s and/or
Cotter’s operations and whether such concentrations exceed the effluent limitations found in applicable
federal regulations: 10 CFR §20.106(a), Appendix B. Important dates are as follows:

    •    Waste from Mallinckrodt’s downtown processing facility was transported to SLAPS starting in
         1946.
    •    Mallinckrodt managed the SLAPS site from 1953 to early 1966.
    •    Certain wastes were transferred from SLAPS to HISS in the second half of 1966
    •    Cotter signed a purchase agreement with CDC for residues in 1967.
    •    Cotter purchased remaining residues in 1969.
    •    Last waste material was removed from HISS in 1973.

Briefly, it is my opinion that effluent limitations for water may not have been exceeded30 but effluent
limitations for air were exceeded at both SLAPS and Latty Avenue. The scientific rationale for these
findings is supplied below and specific concentration estimates are provided in the tables accompanying
this report.

The effluent limitations in 10 CFR §20 have been revised by the NRC a number of times over the years; it
is my understanding that the Order envisions comparing site discharges to the original effluent guidelines
promulgated in 1960. These original tables include different limits for “soluble” and “insoluble” forms of
each radionuclide. The regulations do not provide a definition for these terms; however, the original
source of these effluent limitations can be traced to a 1959 Commerce Department publication entitled,
“Maximum Permissible Body Burdens and Maximum Permissible Concentrations of Radionuclides in Air
and in Water for Occupational Exposure.” In this document, the authors explain that the terms “soluble”
and insoluble” refer to the behavior of substances in the body: a concept we would now call
“bioavailability.” In its 1979 radiological survey of the SLAPS site, DOE used the “soluble” effluent
limitations as a comparative guide, which I believe are the appropriate standards to use for the purpose of
this report. 31

It is noteworthy that the 1959 study upon which the relevant effluent guidelines were based addresses
occupational exposure, but NRC subsequently applied these values to “concentrations in effluents to


30
   Again, this is not to say either Mallinckrodt or Cotter is not strictly liable, did not breach its duty of care, and did
not release radiation in excess of federal dose limits. Rather, I am limiting this report to what the Scheduling Order
requires and reserve the right to expand on these matters in the future.
31
   DOE, 1979, Radiological Survey of the St. Louis Airport Site, Table 19.
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unrestricted areas” which certainly could include residential exposure scenarios. This is probably one
reason that the actual cleanup goals established under FUSRAP are different than the published 10 CFR
§20 effluent limitations. 32

Water Releases from SLAPS and Latty Avenue
I am not aware of any comprehensive surface water sampling from either the SLAPS site or Latty Avenue
prior to removal of the waste piles. Contaminant concentrations from samples collected after the wastes
had been removed and after various phases of remediation are expected to be substantially lower than
would have prevailed when the unprotected waste piles remained at these sites, fully exposed to rain
events. AEC tested surface water near SLAPS and in Coldwater Creek in 1948, although the only
reported analyte is total uranium. At that time, the maximum concentration of uranium in surface water
was 7.0 ug/ml (Sample 6, described as “10 ft. from area main stream leading into Cold Water Creek”) 33.
This measurement corresponds to 7,000 ug/L which vastly exceeds the current drinking water standard
for uranium of 30 ug/L; however, this was a mass analysis, not a radiological activity analysis and
uranium (in units of total mass) is not included in the 10 CFR §20 effluent limitation table. The 1948
study also showed a trend of decreasing uranium in surface water and soil in Coldwater Creek with
respect to distance downstream from SLAPS. These findings are indicative of very significant releases of
radiological contamination into surface water and stream sediments during the time waste piles were
present at this site. AEC recognized at the time that the 1948 findings represented releases to the
environment from SLAPS: “The results of the mud analysis showed conclusively that some residue from
the area had been washed westward towards the creek.” (AEC, 1948, p. 2)

Mallinckrodt and Cotter are reasonably sophisticated entities; thus, they were fully capable of collecting
comprehensive water samples, but nonetheless chose not to. They are now being rewarded for their
inaction because this kind of data cannot be readily reconstructed from currently available information. In
addition, considering that AEC knew by 1948 that contamination had spread offsite from the SLAPS site,
it is reasonable to assume that Mallinckrodt and Cotter should also have known this fact when they were
active at their respective sites. Both sites are within the watershed of Coldwater Creek and runoff from
both sites would impact the same reach of the creek, immediately north of the airport. Thus, in my
opinion, the data included on Table 1 is reasonably representative of water concentrations from both sites
that prevailed after the waste piles were removed but before the FUSRAP remedial actions had been


32
   It is also noteworthy that the 2005 Record of Decision provides cleanup goals for shallow soil, deep soil, sediment
and permanent structures, but does not provide cleanup goals for air or water. This is because prior risk assessment
had identified exposure to soil and sediment as the dominant source of risk.
33
   AEC, November 1, 1948, Uranium Contamination at Airport Storage Area, St. Louis, Missouri, Table entitled,
“Analyses of Water Samples Taken at Airport Area & Cold Water Creek.”
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completed. I am sure that water concentrations would have been higher when the waste piles were
present, but there are not sufficient data available to me at this time to reconstruct how much higher the
concentrations would have been earlier in the history of these sites. As shown in Table 1, the maximum
measured radiological concentrations are less than the 10 CFR §20 effluent limitations for water. Table 1
also provides the necessary unit conversions for the regulatory effluent limitations to match the units used
in site-specific sampling data. One issue that remains unresolved at this time is whether historical runoff
from these sites would have contained enough particulate contamination entrained within the water as
total suspended solids such that the sum of dissolved and suspended contamination would exceed the 10
CFR §20 effluent limitations. At this stage in my analysis, I cannot affirm that the combined contaminant
levels would have exceeded the effluent limitations, but I reserve the right to conduct additional analysis
on this issue if or when more relevant data become available to me.

Radon Releases from SLAPS
Radon concentrations at or near the fence line of the SLAPS site were measured at levels up to 210 pCi/L
in 1948. 34 The appropriate 10 CFR §20 effluent limitation for radon-222 in air is 3 x 10-9 uCi/ml.
Applying unit conversions, this corresponds to 3.0 pCi/L, thus the concentration of radon at the boundary
of the SLAPS site was up to 70 times higher than the 10 CFR §20 effluent limitation for air during the
period of time that the waste material was stored at the site. This finding is perhaps not surprising
considering that onsite measurements in 1948 had found radon at concentrations up to 2,440 pCi/L. 35
Although material was progressively removed from the site starting in the 1950s, a large volume of waste
remained at SLAPS until it was transferred to HISS in 1966. For this reason, I believe the 1948 radon
measurements are broadly representative of emissions from SLAPS through 1966.

Radon Releases from Latty Avenue
It is possible to estimate the concentration in air at some specified point (in this case, the Latty Avenue
fence line) using the expression DF = χ/Q where:
                 DF = Dispersion Factor;
                 χ = Concentration in air at a given point; and
                 Q = release rate.
Risk Assessment Corporation reports a release rate of 1.2 x 10-4 Ci/s for Latty Avenue (RAC, 2018, p. 4-
35); a perimeter dispersion factor of 6.21 x 10-5 s/m3 (RAC, 2018, p. 4-32); and an average on-site radon
concentration of 168 pCi/L (RAC, 2018, p. 4-35). Solving for concentration at the fence line, we arrive at

34
   AEC, 1948, Radon Samples Taken in Airport Area, Robertson, Missouri. (author: P.B. Klevin); RAC, 2018,
Reconstruction of Plaintiff Doses Associated with Residues Stored at the St. Louis Airport Storage Site and the
Hazelwood Interim Storage Site and Critique of Opinions by Dr. Cheremisinoff, Ms. Sears and Dr. Clark, p. 5-12.
35
   AEC, 1948, Radon Samples Taken in Airport Area, Robertson, Missouri. (author: P.B. Klevin).
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an estimated radon concentration of 7,450 pCi/m3, or 7.45 pCi/L which is valid for the period of time that
the waste material was stored at this site. This value exceeds 10 CFR §20 effluent limitation of 3.0 pCi/L
for radon in air. After the wastes had been removed, measured radon concentrations were much lower at
both sites and concentrations likely declined even further after completion of FUSRAP soil remediation.
For example, in the 1990s, radon concentrations at the Latty Avenue fence line were up to approximately
0.6 pCi/L and in 2015, SLAPS outdoor radon concentrations were between non-detect and 0.4 pCi/L. 36

Air Releases from SLAPS
Both sampling and modeling have shown that airborne transport of contaminated particulates is another
pathway for offsite migration at these sites. [CITATIONS] With respect to windblown dust, we need
three principal inputs to estimate past exposures: 1) Source area waste or soil concentrations; 2) average
concentration of total suspended particulates (i.e., dust) from the sites; 3) mixing or dilution factors
between source and receptors. In order to comply with the Scheduling Order in this case, the “receptor”
may be set to the fence lines of SLAPS and Latty Avenue. Source area waste/soil concentrations for
SLAPS are given by RAC, 2018 as follows:




 Mean Radionuclide Concentrations in SLAPS Residues 37
                    Congo       Colorado         Barium         Interim
                                                                                              Weighted
     Source:       raffinate    raffinate        sulfate     residue plant    C-liner slag
                                                                                              Average
                 (AM-7+AM-9)    (AM-10)          (AJ-4)a        tailings
                                                  pCi/g
      238
           U       5.1×102       5.2×102        1.3×103         6.5×103         5.0×103        1.2×103
     230
           Th      4.7×104       4.8×104        1.6×105         5.7×101         2.3×102        5.1×104
     226
           Ra      3.5×102       5.7×102        2.6×103         5.7×101         2.3×102        5.5×102
       Pbb
     210
                   3.5×102       5.7×102        2.6×103         5.7×101         2.3×102        5.5×102
     232
           Th      3.3×100       7.7×100        6.3×101         6.3×101         6.3×101        1.6×101
     234
           Uc      5.1×102       5.2×102        1.3×103         6.5×103         5.0×103        1.2×103
     228
           Rad     9.3×10-1      2.1×100        1.8×101         1.8×101         1.8×101        4.4×100
     228
           Thd     2.8×100       6.5×100        5.4×101         5.4×101         5.4×101        1.3×101
     235
           Ue      2.5×101       2.5×101        6.2×101         3.1×102         2.4×102        5.6×101
     231
           Paf     2.8×103       3.6×102        1.2×103         4.3×10-1        1.7×100        1.7×103
     227
           Acf     2.8×103       6.8×102        2.4×103         8.2×10-1        3.3×100        1.9×103


36
   USACE, 2016, North St. Louis County Sites Annual Environmental Monitoring Dat and Analysis Report for
Calendar Year 2015, Table 2.5.
37
   Source of Table: RAC Expert Report, 2018, Tables 4-6 and 4-7.
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 Notes for Table
 a. Uses a weighted mean based on relative amounts of leached and unleached material.
 b. Assumed to be in secular equilibrium with 226Ra.
 c. Assumed to be in secular equilibrium with 238U.
 d. 228Ra = 0.28×232Th; 228Th=0.85×232Th based on Table 4-2 in 1998 NESHAP report in USACE Environmental
 Monitoring Report for 1998.
 e. Natural activity fraction of 238U (235U = 0.0484 × 238U).
 f. Except for AM-7, 231Pa = 230Th/133.3 and 227Ac = 230Th/69.8. These ratios were derived from soil data (see
 section 5). For AM-7, 231Pa concentrations are based on reported activity concentrations (Haubach 1970;
 Cotter Corporation 1986) and 227Ac is assumed to be in secular equilibrium with 231Pa.


The airborne concentration of radionuclides can be derived from a measurement of total uranium in air in
which was collected in 1960 as part of Mallinckrodt’s annual monitoring program. 38 Four samples were
collected near the SLAPS property line and the highest concentration of uranium detected reported as 4.5
x 10-14 uc/cc. Using natural abundances of the three isotopes of uranium, this finding can be speciated as
follows:

Speciation of 1960 data among uranium isotopes using
natural abundances
                 Mass                      Mass-                                  Speciation
                                                                                               pCi/cm3         pCi/m3
                Fraction   Specific      weighted        Activity       1960       of 1960
               in Nature   Activity       Activity        Ratio        Total U      data
 Total U                                                               4.50E-14
     238
           U    99.27%     3.36E+05       3.34E+05          48.3%                   2.17E-14   2.17E-08        2.17E-02
     235
           U      0.72%    2.16E+06       1.56E+04              2.2%                1.01E-15   1.01E-09        1.01E-03
     234
           U   0.0055%     6.22E+09       3.42E+05          49.5%                   2.23E-14   2.23E-08        2.23E-02



Having determined the activity of uranium-238, the concentrations of other alpha-emitting radionuclides
of concern can now be estimated from their respective activity fractions as tabulated by Risk Assessment
Corporation. 39 The concentrations are presented in Table 2. In my expert opinion, these values are one
reliable example of air concentrations at the fence line of the SLAPS site during the period of time that
waste piles were present. It is noted that thorium-230 exceeds its 10 CFR effluent limitation for air.

The concentrations presented in Table 2 are representative of conditions on the day of sampling in 1960
but, in my opinion, they should not be construed as representing maximum air concentrations historically
released from the SLAPS site. This is an important issue because dust storms from the land surface are


38
     Annual Off-Site Environmental Monitoring Report, MLCT_TParty_0000515
39
     RAC, 2018, Table 4-16.
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episodic events in which the vast majority of dust generation occurs only during those days or portions of
a day each year with high winds. Typically, modeling studies develop daily average concentrations,
which are valid across an entire year, but are not accurate for windy days. However, it is important to
remember that most days, winds are mild and will have very little dust generation. As such, sampling
conducted on a calm day, would greatly underestimate “average” airborne concentrations. On windy days,
the concentrations were likely far in excess to the values presented in Table 2. There is no documentation
that Mallinckrodt made any effort to collect air samples on windy days.

Air Releases from Latty Avenue
Radioactive material that was released to the atmosphere at Latty Avenue as a result of a waste drying
operation. The raffinate materials at Latty Avenue had relatively high moisture contents. To reduce
shipping costs, operators at Latty Avenue decided to remove moisture from the wastes before they were
shipped by rail for reprocessing. Drying was accomplished by a rotary dryer that was installed inside a
building at HISS. A scraper would collect the wet residue and load it onto a conveyor belt (AEC 1968).
Material then entered a large inclined rotating cylinder, and as it progressed down the cylinder, air was
blown across with waste with a powerful blower. This process reportedly dried the waste from a moisture
content of approximately 45-48% to as low as 18% (Goff, 1969b). When the material reached the lower
end of the rotating cylinder, it was loaded into open-top railroad cars for transport to Cañon City,
Colorado (AEC 1968).

RAC has studied the atmospheric release implications of the drying operation and has estimated PM10
releases in units of total tons of Congro raffinate (AM-7) and Colorado raffinate (AM-10) for each of the
six quarters between 1968 and 1971 when drying was being conducted at Latty Avenue. 40 I have
reviewed RAC’s calculations and although it must be acknowledged that there is considerable uncertainty
in these calculations, they are reasonable estimates of releases to air during drying operations. RAC found
that a total of approximately 10.25 tons (equivalent to 20,500 pounds) of radioactive waste was released
to air from the drying operations at Latty Avenue. RAC calculated the total curies released from each
radionuclide of concern over the entirety of the drying operation (2018, Table 4-34: Total Curies Released
from Dryer Operation). These values can be converted to concentrations by dividing by the total amount
of air passing across the site each quarter, incorporating the conservative assumption of thorough mixing
of the airborne particulates with air passing across the entire site. This calculation is presented below:




40
  RAC, 2018, Table 4-33, PM10 Releases from Dryer Operations. “PM10” stands for particulate matter in air with a
diameter of less than 10 microns. These fine particulates are of particular concern in exposure assessments because
the are respirable if people are breathing ambient air with particulates of this size or smaller.
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 Average windspeed (RAC, 2018, p. 7-17)                     4.27 m/s
 Size of Latty Ave Site                                    10.46 acres

 Size of Latty Ave Site                                   42,330 m2
 Modeling length        (sq root of size)                    206 m
 Modeling height                                            10.0 meters

 Modeling volume                                        423,302 m3
 Time for wind to cross the site                          48.24 s
 Number of air exchanges per hour                         74.62
 Number of air exchanges per day                          1791
 Number of air exchanges per qtr
 (120 days)                                             214,910
 volume of air per quarter                             9.10E+10 m3


As shown on Table 3a, I first calculated total curies released per quarter, per radionuclide. Then in Table
3b, these mass values were converted to concentrations by allocating mass across my estimate of volume
of air passing across the site each quarter. This result is equivalent to the average concentrations at the
fence line per quarter. It is noted that thorium-230 exceeds the 10 CFR effluent guideline for air in each
quarter and proactinium-231 exceeds the effluent guideline for two quarters in 1968.

It is perhaps unsurprising to find some exceedances of effluent guidelines at Latty Avenue because this
facility received notices of non-compliance from AEC in 1966 and 1967 for contamination in unrestricted
areas. The 1966 notice identified five items of non-compliance, including the finding that “contrary to 10
CFR 20.105, on May 16, 1966, radiation levels existed in the unrestricted areas around the “Barrel storage
area” such that an individual could receive a dose in excess of those limits specified in this part.” It was
also found that uranium residues were being stored at this site prior to completion of fencing and
installation of locked gates, thus failing to implement a controlled area for these wastes.

In 1967, the AEC inspector reported that “radiation levels were found emitting from the stockpile area in
excess of 1.3 mr/hr at 1 meter from the ground and from the barrel storage area at 10 mr/hr at 18 inches
from the barrels. Therefore, contrary to 10 CFR 20.105(b)(2), radiation levels exist in the stockpile area
and unrestricted area, such that an individual continuously present in this area could receive a dose in
excess of 100 millirem in any seven days.” (AEC, Inspection Sheet for January 11, 1967 Inspection,
emphasis added.)
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The inspector also found storage material (i.e., radioactive waste) “banked up against the bottom of the
cyclone fence, causing it to sag and be partially flattened.” AEC determined that this condition makes for
ease of entrance to the controlled areas: “In at least two places around the fence line, it would be simple to
hold on to the top of the fence and step over the fence into the licensee’s facility from the outside. AEC
also noted that the main gate had a large gap which made for “extreme ease in entering into the licensee’s
controlled areas. Finally, AEC noted that windows of the production building were unlocked and opened,
providing easy entrance into the building, and therefore into the controlled area. The inspector summed
up the situation, concluding that open windows, collapsed fences and open space under that gate negated
the “premise that this is a restricted area.” This inspection took place a few months before Cotter
Corporation took over the site from Commercial Discount Corp., however, at 1970 inspection report
documents that poor housekeeping was a persistent problem at Latty Avenue. As in the previous
inspections, the 1970 site visit noted that the perimeter fence was in poor condition and in need of
repair. 41 Radiation levels were monitored in various work areas and the inspectors found two locations
where 8-hours of exposure would result in an exceedance of AEC limitation of 2.0 mrem/hour. The 1970
inspection also documented uncontrolled release of radioactive material beyond the fence line:

           “along the northeastern edge of the property line a quantity of the Congo raffinate
           material has washed down and under the fence. This material is covering the truck
           parking lot of the adjacent industry and is definitely a violation of AEC regulations.” 42

Summary
In summary, radon and thorium-230 are calculated to have exceeded 10 CFR §20 effluent limitations for
air at the fence lines of both the SLAPS and Latty Avenue sites. In addition, protactinium-241 was found
to exceed its relevant effluent limitation for air at Latty Avenue. I have not been able to reconstruct
radionuclide concentrations in water leaving the sites during the times that waste piles were present at the
sites, exposed to uncontrolled runoff and erosion from rainfall and/or snowmelt events. Water
concentrations after the waste was removed from the sites was found to be below 10 CFR §20 effluent
limitations.

Notes on Allocation
The Scheduling Order asks for organ doses attributable to Cotter’s operations at Latty Avenue and
Mallinckrodt’s operations at SLAPS. This requires the plaintiffs to determine what percentage of the
offsite contamination that the plaintiffs came into contact at various location was due to Cotter’s releases


41
     Ryckman, Edgerley, Tomlinson and Associates, August 11, 1970, Site Visit Report, Cotter Corporation.
42
     Ryckman, Edgerley, Tomlinson and Associates, August 11, 1970, Site Visit Report, Cotter Corporation, p. 2.
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and what percentage was due to Mallinckrodt’s releases. For the period of time before wastes were
transported to Latty Avenue, SLAPS was responsible for 100% of releases to the environment. Pre-1966
impacts to Latty Avenue and vicinity properties would have been relatively small, but since no waste
existed at Latty Avenue during this period, 100% of the contamination that reached these areas during this
time period is attributed to SLAPS. Those releases included fugitive dust emissions from disturbance of
materials in place at SLAPS and the mass transport of contaminants via sheet wash from rain and
flooding events. This period extended from 1946 to 1966.

After wastes had been removed from SLAPS and transported to Latty Avenue, the Latty Avenue site was
responsible for 100% of the releases to Coldwater Creek and to the surrounding community. I recognize
that there were residuals remaining at SLAPS and in the surrounding community after 1966, but the flux
of contamination off-site would have been greatly reduced due to the absence of open waste piles and for
the purposes of this analysis, I assume the post-1966 annual release rate was much smaller than the pre-
1966 annual release rate and would not alter the general allocation presented here. Certain properties
immediately adjacent to each site were impacted dominantly (if not exclusively) by the single adjacent
site. For example, the railroad tracks adjacent to HISS were impacted by releases during waste loading
operations of the concentrated raffinate. As such, it is a reasonable assumption that 90% of the
contamination found on this segment of the railroad tracks is attributable to HISS and 10% is attributed to
prior airborne releases from SLAPS that would have blanketed the entire area. Similarly, the ballfields
immediately north of SLAPS were impacted exclusively by SLAPS until 1966. In this case, however,
when the drying operation was active at Latty Avenue, a substantial amount of contaminated dust was
mobilized, some of which would have been deposited on the ballfields. I believe it is reasonable to
apportion 10% of the total contaminant load found on the ballfields after 1966 to Latty Avenue and 90%
to SLAPS.

For Coldwater Creek, some of the wastes released in any one year are incorporated into streambed and
floodplain sediments, thus are stored indefinitely in the stream system. Over the years, the relative
contributions to stream sediment contamination from each site is a function of the length of time each site
had uncontrolled releases. It is assumed that relative responsibility for haul road releases can also be
accounted for in this way. To arrive at a reasonable allocation for Coldwater Creek, I utilized a method
which draws upon Gore Factors.

The Gore Factors are widely used parameters for allocating liability at Superfund sites and other cases
involving toxic releases. Gore Factors trace their origin to an unadopted amendment proposed by then-
Senator Gore to the original Superfund bill. Gore suggested that the following factors could be considered
when allocating site costs among PRPs: (1) the ability of the parties to demonstrate that their contribution
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to a discharge, release or disposal of a hazardous waste can be distinguished; (2) the amount of hazardous
substances involved; (3) the degree of toxicity or hazard of the materials involved; (4) the degree of
involvement by parties in the generation, transportation, treatment, storage, or disposal of the substances;
(5) the degree of care exercised by the parties with respect to the substances involved; and (6) the degree
of cooperation of the parties with government officials to prevent any harm to public health or the
environment.

In some cases, allocations are relatively straightforward by applying Gore Factor #1. This allocation
method could be used if different PRPs (potentially responsible parties) for a hypothetical site handled
and released different chemicals. For example, I am working on a site right now in which benzene is
related to releases from a gas station and TCE is related to releases from a nearby factory. In a case like
that, it is not difficult to differentiate each PRP’s singular impacts to the environment and/or human
health. Gore Factor #1 would be very difficult to apply in the Coldwater Creek case because the very
same materials were stored at each site (although they were stored at each site at different times) and the
very same materials were released into the environment by the same fate and transport mechanisms.
Because both sites are within the Coldwater Creek watershed, releases became comingled with the
exception of the short stream segment downstream of SLAPS but upstream of HISS. In addition, the
mode of storage (mostly unprotected waste piles) was the same and environmental conditions (frequency
and duration of rain events, snow melt and wind storms) are identical since the two sites are separated by
only a couple city blocks. As noted by Ram, et al., 43 timing (for example, for a facility that had different
owners: how long did each owner operate the facility or for a landfill: how long did different PRPs send
their wastes to the particular landfill?) is a reasonable proxy for Gore Factor #4.

One can calculate the number of years waste piles were present at either site. 44 Mallinckrodt was
responsible for waste at SLAPS from 1946 to mid-1966 for a total of approximately 20.5 years. 45
Mallinckrodt’s period of operation constitutes 73% of the time waste piles were present at one or the
other of the sites (20.5/28 = 0.732). Similarly, Cotter was responsible for waste at Latty Avenue from


43
   Ram, et al., March 15, 2005, Cleanup Costs at Waste Sites, in: Environmental Science & Technology, 129A-
135A.
44
   By my calculation, waste piles were present at either SLAPS or Latty Avenue for a total of approximately 28
years. There certainly would have been continuing releases to the environment after the waste piles were removed
but before on-site FUSRAP remediation was completed. For the purposes of this allocation analysis, I assume post-
waste pile/pre-remediation were a relatively small proportion of total historical releases. In addition, such post-waste
pile releases Mallinckrodt would not be allocated to either Mallinckrodt or Cotter.
45
   I understand that Mallinckrodt did not officially operate SLAPS until 1953, but it was always Mallinckrodt’s
waste being stored at the site, being transported directly from Mallinckrodt’s downtown facility. Considering these
facts, for the purposes of this analysis, I believe Mallinckrodt had some responsibility for safe handling of the waste
from the beginning of operations at SLAPS.
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Expert Report of James T. Wells, PhD, PG
McClurg, et al. v. Mallinckrodt, Inc., et al.                                                      22

mid-1966 through 1973, for a total of 7.5 years. I understand that Cotter did not hold the license for Latty
Avenue until 1969: there was a period in 1966 and early 1967 when Continental Mining and Milling
and/or Continental Metals Corporation and/or Commercial Discount Corporation held the license.
However, as early as 1967, Cotter Corporation contracted to have this material dried and shipped to them
in Colorado. 46 In fact, in 1968 Cotter Corporation referred to this site as “our drying plant in Hazelwood,
Missouri.” 47 For this reason, I believe Cotter had some responsibility for safe handling of the Latty
Avenue wastes from the beginning of operations at the site. Cotter’s period of operation constitutes 26.8%
of the time waste piles were present at one or the other of the sites (7.5/28 = 0.26.8).

A summary of the allocation analysis is provided below.




                                  Pre-1966              1966-1973              Post-1973
                               SLAPS     HISS         SLAPS     HISS         SLAPS     HISS
 Ballfields                      100%      0%            90%     10%            90%      10%
 Latty Ave. Railroad             100%      0%            10%     90%            10%      90%
 Latty Ave. Vicinity Sites       100%      0%            10%     90%            10%      90%
 Coldwater Creek                 100%      0%            73%     27%            73%      27%




46
  Residue Purchase Agreement, June 9, 1967, Exhibit 2 to Volume I of the Deposition of John Stephen Hamrick.
47
  Letter to U.S. Atomic Energy Commission, October 1, 1968, Exhibit 17 to Volume I of the Deposition of John
Stephen Hamrick.
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Exhibit 1. Map of a portion of north St. Louis County, Missouri showing SLAPS and HISS (Latty Avenue Site) along with a
portion of Coldwater Creek. Source: ATSDR, 2018, Figure 2.
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Table 1. Concentrations in Water from SLAPS and Latty Avenue

                                Effluent Limitation for Water                    Max Conc Reported
                                                                                   in Near-Offsite
                                        a               b              c
Radionuclide                 (uCi/ml)          pCi/ml          pCi/l            Surface Water (pCi/l) Source
238
    U-Soluble                       4.0E-05      4.0E+01         40,000                       3,500 d
230
      Th-Soluble                    2.0E-06      2.0E+00          2,000              ND (<0.5 - <14) d
226
      Ra-Soluble                    1.0E-08       1.0E-02                  10                    0.4 e
210
      Pb-Soluble                    1.0E-07       1.0E-01           100                          11 d
232
      Th-Soluble                    2.0E-06      2.0E+00          2,000                          9.0 e
234
      U-Soluble                     3.0E-05      3.0E+01         30,000                      893.29 f
228
      Ra-Soluble                    3.0E-08       3.0E-02                  30                   0.51 f
228
      Th-Soluble                    7.0E-06      7.0E+00          7,000                         0.93 f
235
      U-Soluble                     3.0E-05      3.0E+01         30,000                          0.4 d
231
      Pa-Soluble                    9.0E-07       9.0E-01           900                         0.04 f
227
  Ac-Soluble                       2.0E-06       2.0E+00          2,000                         0.03 f
Total Uranium                     not listed                                                  2,067 e

a
    Source: 10 CFR §20.106(a)
b
    Unit conversion: 106 picocuries = 1 microcurie
c
    Unit conversion: 1000 ml = 1L
d
    DOE, 1979, Radiological Survey of the St. Louis Airport Storage Site, Table 19.
e
    Bechtel, 1983, Radiological Survey of Ditches at the St. Louis Airport Storage Site (SLAPS), Table 8.
f
    RAC, 2018, Table 8-3
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Table 2. Effluent in Air for SLAPS
                                                            a
                              Effluent Limitation for Air                Activity                 Calculated
                                                                         Fraction     As a % of   Activity for             3
                                                                        Relative to     238       1960 Data       pCi/cm       pCi/m3
                                                                                            U
Radionuclide          (uCi/ml)         (pCi/ml)b     (pCi/m3)
                                                                 c     gross alphad                (uc/cm3)
238
    U-Soluble                3.0E-12      3.0E-06                3.0          0.075       100%         2.17E-14    2.2E-08       0.022
230
      Th-Soluble             8.0E-14      8.0E-08               0.08           0.76      1013%         2.20E-13    2.2E-07       0.220
226
      Ra-Soluble             1.0E-12      1.0E-06                1.0           0.07        93%         2.03E-14    2.0E-08       0.020
210
      Pb-Soluble             4.0E-12      4.0E-06                4.0           0.07        93%         2.03E-14    2.0E-08       0.020
232
      Th-Soluble             1.0E-12      1.0E-06                1.0        0.0054         7.2%        1.56E-15    1.6E-09       0.002
234               e
      U-Soluble              2.0E-11      2.0E-05               20.0                                   2.23E-14    2.2E-08       0.022
228
      Ra-Soluble             2.0E-12      2.0E-06                2.0         0.015         20%         4.34E-15    4.3E-09       0.004
228
      Th-Soluble             3.0E-13      3.0E-07               0.30        0.0032         4.3%        9.27E-16    9.3E-10       0.001
235               e
      U-Soluble              2.0E-11      2.0E-05               20.0                                   1.01E-15    1.0E-09       0.001
231
      Pa-Soluble             4.0E-14      4.0E-08               0.04        0.0035         4.7%        1.01E-15    1.0E-09       0.001
227
      Ac-Soluble             8.0E-14      8.0E-08               0.08        0.0035         4.7%        1.01E-15    1.0E-09       0.001
a
    Source: 10 CFR §20.106(a)
b                      6
    Unit conversion: 10 picocuries = 1 microcurie
c
    Unit conversion: 1,000,000 cm3 = 1m3; 1 ml = 1 cm3
d
    Source: RAC, 2018, Table 4-16
e
 Calculated from natural abundance of uranium isotopes; see text.
Shaded entry exceeds effluent limitation
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Table 3. Effluent in Air for Latty Avenue Drying Operation
                                                                                Q2 1968       Q3 1968       Q4 1968       Q3 1970       Q4 1970     Q1 1971
                                                          a
                 PM10 Release from Dryer-AM7                    (tons)              2.03          1.92          0.57           1.0          1.62        0.89
                                             a
                PM10 Release from Dryer-AM10                    (tons)              0.98          0.95          0.29             0             0           0
                                             % AM7 per qtr                        25.3%         23.9%          7.1%         12.5%         20.2%       11.1%
                                            % AM10 per qtr                        44.1%         42.8%         13.1%          0.0%          0.0%        0.0%
                                                              Total Curies
                                      Total Curies
                                                                 Released
                     a) Mass Relea Released from                               Q2 1968       Q3 1968       Q4 1968       Q3 1970       Q4 1970     Q1 1971
                                                               from dryer
                                    dryer (AM-7)b
                                                                 (AM-10)b      emission      emission      emission      emission      emission    emission
                             238
                                   U           3.70E-03        1.10E-03        1.42E-03      1.36E-03      4.06E-04      4.61E-04      7.46E-04    4.10E-04
                             230
                                   Th          3.40E-01        9.80E-02        1.29E-01      1.23E-01      3.69E-02      4.23E-02      6.86E-02    3.77E-02
                             226
                                  Ra           2.50E-03        1.20E-03        1.16E-03      1.11E-03      3.34E-04      3.11E-04      5.04E-04    2.77E-04
                            210        b
                               Pb              2.50E-03        1.20E-03        1.16E-03      1.11E-03      3.34E-04      3.11E-04      5.04E-04    2.77E-04
                             232
                                   Th          2.40E-05        1.60E-05        1.31E-05      1.26E-05      3.79E-06      2.99E-06      4.84E-06    2.66E-06
                             234 c
                                   U           3.70E-03        1.10E-03        1.42E-03      1.36E-03      4.06E-04      4.61E-04      7.46E-04    4.10E-04
                            228        d
                                  Ra           6.80E-06        4.40E-06        3.66E-06      3.51E-06      1.06E-06      8.47E-07      1.37E-06    7.54E-07
                            228        d
                                  Th           2.10E-05        1.30E-05        1.10E-05      1.06E-05      3.19E-06      2.62E-06      4.24E-06    2.33E-06
                            231        f
                                  Pa           2.00E-02        7.30E-04        5.38E-03      5.09E-03      1.52E-03      2.49E-03      4.03E-03    2.22E-03
                            227        f
                                  Ac           2.00E-02        1.40E-03        5.67E-03      5.38E-03      1.60E-03      2.49E-03      4.03E-03    2.22E-03
                     a
                      RAC, 2018, Table 4-33
                     b
                         RAC, 2018, Table 4-34
                                                                                Q2 1968       Q3 1968       Q4 1968       Q3 1970       Q4 1970     Q1 1971
                  PM10 Release from Dryer Operation (tons)                     3.01E+00      2.87E+00      8.60E-01      1.00E+00      1.62E+00    8.90E-01
                PM10 Release from Dryer Operation (pounds)                     6.02E+03      5.74E+03      1.72E+03      2.00E+03      3.24E+03    1.78E+03
                   PM10 Release from Dryer Operation (mg)                      2.73E+08      2.60E+08      7.80E+07      9.07E+07      1.47E+08    8.07E+07
                           Effluent Limitation for Aira
b) Concentrations                                                            Conc in air   Conc in air   Conc in air   Conc in air   Conc in air Conc in air
Released                   uCi/ml               pCi/ml         pCi/m3         (pCi/m3)      (pCi/m3)      (pCi/m3)      (pCi/m3)      (pCi/m3)    (pCi/m3)
238
   U-Soluble                 3.0E-12              3.0E-06           3.0          1.6E-02       1.5E-02       4.5E-03       5.1E-03       8.2E-03    4.5E-03
230
   Th-Soluble                8.0E-14              8.0E-08          0.08          1.4E+00       1.4E+00       4.1E-01       4.6E-01       7.5E-01    4.1E-01
226
   Ra-Soluble                1.0E-12              1.0E-06           1.0          1.3E-02       1.2E-02       3.7E-03       3.4E-03       5.5E-03    3.0E-03
210
   Pb-Soluble                4.0E-12              4.0E-06           4.0          1.3E-02       1.2E-02       3.7E-03       3.4E-03       5.5E-03    3.0E-03
232
   Th-Soluble                1.0E-12              1.0E-06           1.0          1.4E-04       1.4E-04       4.2E-05       3.3E-05       5.3E-05    2.9E-05
234
   U-Soluble                 2.0E-11              2.0E-05          20.0          1.6E-02       1.5E-02       4.5E-03       5.1E-03       8.2E-03    4.5E-03
228
   Ra-Soluble                2.0E-12              2.0E-06           2.0          4.0E-05       3.9E-05       1.2E-05       9.3E-06       1.5E-05    8.3E-06
228
   Th-Soluble                3.0E-13              3.0E-07          0.30          1.2E-04       1.2E-04       3.5E-05       2.9E-05       4.7E-05    2.6E-05
231
   Pa-Soluble                4.0E-14              4.0E-08          0.04          5.9E-02       5.6E-02       1.7E-02       2.7E-02       4.4E-02    2.4E-02
227
   Ac-Soluble                8.0E-14              8.0E-08          0.08          6.2E-02       5.9E-02       1.8E-02       2.7E-02       4.4E-02    2.4E-02

a
  Source: 10 CFR §20.106(a)
b
  Unit conversion: 106 picocuries = 1 microcurie
c
 Unit conversion: 1,000,000 ml = 1m3
Unit conversion: 1Ci = 1012 pCi
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                                 Appendix A

                  Resume of James T. Wells, PhD, PG
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    James T. Wells, PhD, PG
    Environmental Geologist


                                   Dr. Wells is an environmental geologist with over 25 years of experience in
                                   hydrogeology and geochemistry and is a Professional Geologist, registered in
                                   California. His area of expertise includes groundwater hydrology, fate and
                                   transport of contamination in soil and groundwater, environmental forensics and
                                   the geochemistry of metals in the environment. He is a member of the Editorial
                                   Board of the journal, Environmental Forensics, a quarterly peer-reviewed
L. Everett & Associates, LLC       scientific journal of national and international circulation. He is the author and
3700 State Street, Suite 350       coauthor of numerous scientific publications, including the recently published
Santa Barbara, CA 93105
                                   forensic review articles in Environmental Science & Technology (U.K. Edition)
805-880-9302
                                   Special Issue dedicated to Environmental Forensics.
jwells@everettassociates.net

                                   Dr. Wells has worked on over 100 sites around the country, each with unique
                                   issues related to soil or groundwater quality. He serves clients in the areas of site
                                   investigations, soil and groundwater remediation, risk-based studies of soil and
                                   groundwater contamination, and litigation support. Dr. Wells has managed
Education
                                   complex environmental programs on behalf of large corporations. His
University of Washington, Ph.D.,
Geological Sciences, 1990
                                   environmental forensics practice focuses on using advanced analytical techniques
                                   to solve questions related to the origin, cause, timing and evolution of subsurface
University of Washington, M.S.,    contamination. He has extensive experience in groundwater and vadose zone
Geological Sciences, 1986
                                   computer modeling, as well as in the statistical analysis of geological systems. L.
Dartmouth College, B.A., Earth     Everett & Associates’ billing rate for Dr. Wells is $275/hr. His hourly rate for
Sciences, 1981                     deposition and trial testimony is $500/hr.

                                   Representative Project Experience
Professional Registration
                                   Former Sylvania Site – Hicksville, New York.
2001/California: Professional
Geologist (Reg. No. 7212)
                                   Conducted assessment of site investigation and remediation at FUSRAP
                                   (Formally Utilized Sites Remedial Action Program) site on Long Island. This
Professional Societies             facility was an early supplier of nuclear fuel elements for the nation’s first
Geological Society of America      commercial reactors. Soil and groundwater contamination included uranium,
American Ground Water              thorium, nickel and organic solvents.
Association
American Chemical Society          Gallagher & Kennedy – Litigation Support. Provided litigation support for a
International Society of           lawsuit involving a 996-acre brownfield site. The site, used since the 1930s for
Environmental Forensics            munitions manufacturing and assembly, had soil and groundwater contamination
                                   consisting of perchlorate, chlorinated solvents and radioactive materials. When
                                   the local municipality took 13 acres of the property by eminent domain to build a
                                   new regional highway, the property owner sued to recoup the cost of the land.
                                   The municipality estimated a cleanup cost of $220 million and, based on this,
                                   valued the land at only $142,000. With colleagues, developed a soil and
                                   groundwater remediation plan and cost estimate. Through extensive soil and
                                   groundwater data analysis and 3D modeling, demonstrated that while portions of
                                   the site were highly contaminated, much of the site was not contaminated and a
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                            lower cost remediation was feasible. Our remediation plan dovetailed remediation
                            with pre-development activities and employed state-of-the-art remediation
                            technologies for perchlorate at a cost $27 million. A jury accepted the accuracy of
                            Haley & Aldrich’s remediation estimate, and awarded the owner over $12 million
                            for land value and severance damages.


                            University of Washington Advisory Group on Hanford Site. Served as
                            graduate student representative to technical advisory group providing advice to
                            State officials in their oversight role for the environmental cleanup at Hanford in
                            eastern Washington State.

                            SIMA Property Corporation – Chlorinated Solvent Site in California.
                            Conducted site characterization, remediation planning, regulatory negotiation for
                            PCE in soil, soil vapor and groundwater at this dry cleaner site, with special
Applies expertise in geo-   emphasis on the potential for vapor intrusion into nearby commercial buildings.
chemistry and
                            Rand Family Trust – Petroleum hydrocarbons in soil and groundwater.
hydrogeology to solve       Conducted site characterization and site remediation for a commercial site in
environmental problems      Santa Barbara, California. Achieved closure of this case from the local regulatory
                            agency.

                            Reedley Remediation Trust – Chlorinated Solvent Site in California.
                            Provided site characterization and remediation planning advice for this comingled
                            PCE groundwater plume. Also advised on the formation of a remediation trust to
                            insure adequate resources for a long-term cleanup program.

                            Isola Law Group – Rialto-Colton Superfund Site. Provided litigation support
                            in complex, multi-party lawsuit concerning cost allocation, contaminant fate and
                            transport and remediation technologies for large (5-mile long) perchlorate and
                            TCE groundwater plume.

                            KB Gardena – Litigation Support & Subsurface Remediation. Provided
                            attorneys with technical advice and assistance with cost allocation strategy for
                            multi-million dollar case with multiple PRPs. Conducted site remediation for
                            PCE, metals and other VOCs.

                            Pacific Gas & Electric Company – Forensic Geochemistry. Analyzed high-
                            resolution petroleum hydrocarbon data, including PIANO analysis, relative
                            solubility and hydrocarbon weathering assessments to evaluate the theory that
                            contamination discovered on client’s property originated from off-site sources and
                            was not due to on-site releases. PIANO analysis is a forensic technique for
                            complex hydrocarbon mixtures using gas chromatography to speciate individual
                            hydrocarbon compounds and group the compounds into their molecular
                            classifications: paraffins (P), isoparaffins (I), aromatics (A), naphthalenes (N) and
                            olefins (O).

                            Pacific Gas & Electric Company – Litigation Support. Provided litigation
                            support, including participation in mediation, for a case involving petroleum
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                            hydrocarbons in soil and groundwater.

                            USEPA – Del Amo and Montrose Superfund Sites. Analysis of potential
                            exposure scenarios and efficacy of remediation plans from PCBs, metals and
                            VOCs from Superfund sites in Los Angeles under EPA’s TASC program
                            (Technical Assistance Services for Communities).

                            Terracon, Inc. – Groundwater Modeling and Litigation Support. Complex
                            construction defect case involving claims of $60 million in damage allegedly due
                            to soil expansion caused by rising groundwater from irrigation of nearby golf
                            course and residential areas. Opposing experts spent two years and $2 million on
                            groundwater modeling which was eventually excluded from trial after we
                            demonstrated unreliability and lack of relevance to judge.

His area of expertise       St. Joe, Missouri—Chromium in Tannery Waste. Provided litigation support
                            for case in which tannery waste had been spread as soil amendment over
includes environmental      approximately 56,000 acres of agricultural land. It had been known that the
forensics and fate and      sludge contained elevated levels of metals, including chromium. It was apparently
transport of organic and    not known that some of the chromium was in the form of toxic Cr(VI) which
inorganic contaminants in   posed a serious risk to human health and the environment.
soil and groundwater
                            State of Idaho – Soil Remediation Pilot Study for Metal Stabilization on the
                            Coeur d’Alene Mining District. Conducted field pilot study on metal
                            stabilization along the Coeur d’Alene River. The river feeds Lake Coeur d’Alene
                            which is highly-impacted by the cumulative effects of 100 years of mining in the
                            watershed and is the primary source of drinking water for over 50,000 residents of
                            northern Idaho. Work was sponsored by the U.S. Environmental Protection
                            Agency (EPA) and State of Idaho in an effort to find a cost-effective means of
                            addressing widespread soil contamination along a 30 mile stretch of the Coeur
                            d’Alene River.

                            Confidential Client – Environmental Forensics for Metals. Conducted
                            forensic analysis of groundwater contamination allegedly emanating from a
                            mining operation. The project involved fate and transport evaluations,
                            groundwater hydrogeology, and geochemistry.

                            Litigation Support – Metals Contamination
                            Provided litigation support in case involving alleged lead and arsenic soil
                            contamination due to pesticides.

                            Koch Oil, Oklahoma – Forensic Geochemistry. Conducted forensic
                            geochemical evaluation on naturally-occurring compounds in groundwater to
                            assess whether historical groundwater concentration trends constituted natural
                            background variability or potential releases from client’s brine impoundments.

                            Tri-County Public Airport, Herington, Kansas – Forensic Geochemistry.
                            Conducted oxygen, deuterium, chlorofluorocarbon (CFC), carbon isotope analysis
                            of groundwater and chlorinated contaminants in order of evaluate contaminant
                            fate and transport at a former military facility.
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                          Gonzalez & Robinson – Groundwater Modeling. Used groundwater computer
                          modeling to simulate groundwater flow in a residential region of Sonoma County,
                          California.

                          Confidential Client – Environmental Forensics for Chlorinated Solvents.
                          Conducted forensic analysis of chlorinated solvent contamination extending in
                          groundwater over two miles under a community. The site involved multiple
                          releases from multiple locations and complex hydrogeology and attenuation
                          histories.

                          Kimberly-Clark, Ohio – Forensic Geochemistry. Conducted forensic
                          geochemical analysis to demonstrate that significant component of groundwater
                          contamination under client’s site had migrated from an off-site source. Utilized
                          compound-specific carbon isotope analysis of chlorinated compounds and
                          daughter product abundance. This analysis was complicated by the fact that there
                          were low levels of residual contamination from an old on-site release, which
                          needed to be definitively differentiated from the larger off-site flux of
                          contaminants.

                          Western States Petroleum Association – Risk-Based Clean-up Studies.
                          Conducted a study to develop risk-based clean-up standards for crude-oil-
                          impacted soils, including studies of the comparative environmental risks posed by
                          crude oil, gasoline, and diesel oil in the subsurface. Applied leaking underground
                          fuel tank evaluation methods to crude oil sites and developed cost-effective site
                          assessment strategies.

                          Tesoro Petroleum Company – San Fernando Investigation and Remediation
                          of MTBE Plume. Managed a project in Southern California to delineate and
                          clean-up a large release of methyl tert-butyl ether (MTBE) to soil and
                          groundwater. A particular challenge of this project was to account for the
                          presence of multiple high-volume water supply wells near the project site, a
                          situation involving extensive regulatory negotiation with California Regional
                          Water Quality Control Board (RWQCB), California Department of Health
                          Services and Upper Los Angeles River Area Watermaster.

                          Isola Bowers, LLP – Environmental Litigation Support. Served as expert
                          witness in a case involving a large release of MTBE-bearing gasoline to
                          groundwater. Estimated volume of release and reconstructed release and plume
                          migration history.

                          ContiGroup Companies, Stockton, CA – Groundwater Remediation.
                          Completed comprehensive subsurface characterization study and designed a
                          remediation strategy for this grain elevator site with carbon tetrachloride and
                          other volatile organic compounds in groundwater. Due to the complex
                          stratigraphy and heterogeneous distribution of contaminant throughout the
                          aquifer, an in-situ chemical treatment strategy was designed for this site coupled
                          with an initial, short-term phase of groundwater extraction to achieve containment
                          of the contaminant plume.
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                          Confidential Client - Aircraft Manufacturer – Service Delivery Leader.
                          Served as Service Delivery Leader, responsible for coordinating quality and
                          consistency for a team located in six offices and providing environmental services
                          simultaneously on up to ten large projects. Also conducted vadose zone computer
                          modeling to evaluate clean-up standards for soil that would be protective of future
                          groundwater quality.

                          Northrop-Grumman Corporation—Remediation Planning. Provided analysis
                          of environmental data and regulatory requirements for large site with multiple
                          occurrences of contamination in soil and groundwater. Advised client on cost-
                          effective strategies and technologies for resolving environmental impairment.

                          Archbald & Spray, LLP – Environmental Litigation Support. Served as
                          expert witness on environmental issues for the case, Exxon v. Ebasco. In this
                          case, environmental issues included storm water management, erosion control,
                          hazardous waste handling, water quality and regulatory compliance during
                          construction of a large petroleum processing facility in Santa Barbara County,
                          California.

                          Price, Postel & Parma, LLP – Environmental Litigation Support. Provided
                          environmental review and interpretation in support of legal cases. Served as
                          expert witness on cases involving groundwater contamination and aquifer
                          remediation.

                          Tesoro Petroleum Company – Feasibility Study for Remediation of
                          Free Product. Conducted a feasibility study for containment and
                          remediation of a large plume of free phase petroleum plume at a refinery in
                          Kenai, Alaska. Migration of the light non-aqueous phase liquid was
                          influenced by complex fluvio-glacial stratigraphy and by fluctuating
                          groundwater levels.

                          Exxon Company, U.S.A. – Remediation Planning. Developed remediation and
                          regulatory strategies for the closure of a large urban oil field in California, which
                          consists of over 500 production sites over four square miles of residential and
                          commercial districts. The proposed strategy was a risk-based approach addressing
                          such factors as cost, schedule, future liability and land use.

                          Confidential Client - Aircraft Manufacturing Site Redevelopment
                          Environmental Program. Team member for comprehensive subsurface
                          investigation program for 343-acre former manufacturing facility. This complex
                          project involved over 1500 soil borings, web-based data repository, risk-based
                          formulation of clean-up standards, production of data reports specifically
                          designed for use by potential buyers and other stakeholders and close
                          coordination with redevelopment staff.

                          Nestlé, U.S.A. –Aquifer Remediation. Working with Nestlé technical staff,
                          developed a technical strategy and gained regulatory acceptance of a passive
                          bioremediation approach at an underground storage tank (UST) site which
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                          contained hydrocarbon contamination in groundwater in a beneficial-use aquifer.

                          San Diego County Aquifer Storage and Recovery. Served as technical advisor
                          on project evaluating the feasibility of aquifer storage and recovery operation in
                          central San Diego County, California. Project involved extensive groundwater
                          modeling, evaluation of climate variability and evaluations of geochemical
                          compatibility of various potential sources of water with native groundwater and
                          aquifer matrix.

                          County of San Luis Obispo Water Supply – Nitrate in Groundwater.
                          Conducted a study of nitrate contamination in shallow groundwater at Los Osos,
                          California, a community that relies solely on groundwater for its municipal water
                          supply. The study incorporated site-specific data on the transport and
                          transformation of nitrogen in the subsurface to develop a nitrogen mass balance
                          for all significant nitrate sources. This work resulted in quantitative estimates of
                          the contribution of septic system effluent to nitrate levels in groundwater.

                          U.S. Navy – Groundwater Investigations and Remediation Planning.
                          Managed site investigations, feasibility studies and remediation planning at eight
                          contaminated sites overlying (and in some cases, impacting) the sole-source
                          aquifer at Camp Pendleton Marine Corps Base.

                          Santa Barbara Historical Society – Environmental Consulting. Provided
                          environmental consulting services, advice, reviews of reports and data and
                          participated in negotiations with Southern California Edison (the responsible
                          party) on behalf a Santa Barbara nonprofit organization. This work focused on
                          soil and groundwater investigations, remediation plans and associated risks
                          related to soil and groundwater contamination at a former manufactured gas plant
                          on the nonprofit’s property.

                          Sequoia Voting Systems – Groundwater Investigations. Managed a project
                          involving chlorinated compounds in groundwater in which I developed supporting
                          data and argued for relief from active remediation on the grounds of the existence
                          of natural contaminant of the chlorinated plume. Our approach was approved by
                          the state.

                          Los Angeles Metropolitan Transportation Authority (LACMTA)–
                          Comprehensive Environmental Services. Project manager for comprehensive
                          hazardous waste assessment contract with the LACMTA. For this project, M&E
                          provided environmental services in support of land acquisition and construction
                          for a light-rail commuter line in the Los Angeles area.

                          Private Client – Vadose Zone Studies. Performed detailed vadose zone
                          investigations in support of landfill siting projects which involved geophysical
                          surveys and soil testing to assess the nature and distribution of soil moisture and
                          to assess the potential for contaminant migration in the vadose zone.

                          State of California – Soil and Groundwater Remediation. Implemented an air
                          sparging/soil vapor extraction soil and groundwater remediation system at a UST
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                          site with extensive vadose zone and dissolved groundwater plumes.

                          U.S. Air Force – Risk-based Strategies for Soil. Utilized the California
                          RWQCB Designated Level Methodology to establish clean-up levels for soil
                          contaminated with petroleum hydrocarbons at Beale Air Force Base, California.
                          This project involved vadose zone contaminant transport computer modeling to
                          arrive at soil clean-up levels that would produce acceptable predicted impacts to
                          underlying groundwater.

                          Various Clients – Geostatistical Programs. Developed programs for the
                          statistical analysis of groundwater monitoring data for a mining facility,
                          petroleum refinery, wastewater reclamation operation and a municipal waste
                          landfill, all in Central California. Projects involved the implementation of EPA-
                          approved statistical techniques to evaluate the differences between background
                          and downgradient concentrations of groundwater contaminants.

                          Depositions and Trial Testimony

                          2018, Renzel v. Ventura, Deposition Testimony.

                          2018, Weiand Automotive Industries, Inc. et al., Deposition Testimony.

                          2017, Greenfield MHP Associates, L.P., et al.vs. Ametek, Deposition Testimony.

                          2017, Wyatt, et al., vs. ABB, Inc., Deposition Testimony.

                          2016, Kirk vs. Schaeffler, Deposition and Trial Testimony.

                          2016, Goldberg vs. Goss-Jewett, et al., Deposition Testimony.

                          2015, Hawkins, et al., vs. Vista Ridge Development Corp., et al., Deposition
                          Testimony.

                          2013, Enns Pontiac, et al., vs. Flores, et al., Deposition Testimony.

                          2012, Steadfast, et al., vs. Terracon, et al., District Court of Jefferson County,
                          Colorado, Deposition and pre-trial Hearing Testimony.

                          2012, Kartal vs. Chang, et al., Deposition Testimony.

                          2011, Johnson, et al., vs. Prime Tanning Corp., et al., Circuit Court of Buchanan
                          County, Missouri, Deposition Testimony.

                          2010, United Alloys vs. Flask, United States District Court, Central District of
                          California, Deposition and Trial Testimony.

                          2010, Acevedo, et al., vs. California Spray Chemical Company, et al., Superior
                          Court of the State of California, County of Santa Cruz, Deposition .

                          2009, ITT vs. BorgWarner, et al., United States District Court for the Western
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                          District of Michigan, Deposition and Trial Testimony.

                          2009, DePascale. Et al., vs. Sylvania, United States District Court for the Eastern
                          District of New York, Deposition and Trial Testimony.

                          2009, Clark, et al. vs. City of Santa Rosa, et al., Superior Court of the State of
                          California, County of Sonoma, Deposition and Trial Testimony.

                          2008, Hinds Investments, L.P., et al. vs. United Fabricare Supply, Inc., et al.,
                          Deposition, Los Angeles, California, Deposition.

                          2008, Acevedo, et al., vs. California Spray Chemical Company, et al., Superior
                          Court of the State of California, County of Santa Cruz, Deposition and Trial
                          Testimony
                          2005, City of Santa Clarita vs. Santa Clarita, LLC, et al., Superior Court of the
                          State of California, County of Los Angeles, Deposition.
                          2003, City of Morgan Hill, Santa Clara County, California, Deposition and Trial.
                          1999, Unocal vs. Terrible Herbst, Las Vegas, Nevada, Deposition and Trial
                          Testimony.
                          1998, Exxon v. Ebasco, Santa Barbara County, California, Deposition.

                          Publications and Papers
                          Expert Witness Services for Environmental Scientists and Engineers: Professional
                          Opportunities at The Intersection of Law and Science, in: Applied Geology of
                          California, Anderson and Ferriz, eds., Chapter 29 (with Schaal, Matos and
                          Everett).

                          “Emerging Trends in Environmental Forensics,” presentation and paper for
                          American Law Institute Conference on Environmental Litigation, Washington,
                          DC, 2013.

                          “Tracking Chlorinated Solvents in Nature – Classic and Emerging Forensic
                          Techniques”, with I. G. Petrisor, in Environmental Forensics, Volume 26 in the
                          Issues in Environmental Science and Technology series, 2008.

                          “Perchlorate: Is Nature the Main Manufacturer?”, with I. G. Petrisor, in
                          Environmental Forensics, Volume 26 in the Issues in Environmental Science and
                          Technology series, 2008.

                          “Environmental Forensics,” presentation to the AIHA Joint Symposium, Long
                          Beach, California, 2004.

                          “A Lattice Gas Model for Heterogeneous Chemical Reactions at Mineral Surfaces
                          and in Pore Networks,” with D.R. Janecky, and B. Travis, Physica D, vol. 47, pp.
                          115-123, 1991.

                          “Coupled Fluid Flow and Chemical Reactions in Mid-Ocean Ridge Hydrothermal
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                          Systems: The Behavior of Silica,” with M.S. Ghiorso, Geochimica et
                          Cosmochimica Acta, vol. 55, pp. 2467-2482, 1991.

                          “The Influence of Fluid Flow and Reaction Kinetics on Mass Transfer in Mid-
                          Ocean Ridge Hydrothermal Systems.” Dissertation, University of Washington,
                          1990.

                          “3-D Numerical Models for Examining Processes in Geothermal-Hydrochemical
                          Systems,” with D.R. Janecky, B.J. Travis, G. Zyvloski, N. Rosenberg. Chapman
                          Conference on Crustal-Scale Fluid Transport, Snowbird, Utah, 1990.
                          “Cellular Automata Simulations of Mineral Surface Reactions,” with D.R.
                          Janecky, and B. Travis, Geological Society of America Annual Meeting, St.
                          Louis, 1989.

                          “Determining Fluid Velocity of Black Smoker Jets from Digital Correlation of
                          Video Images,” with M.O. Smith, V.A. Atnipp, and R.E. McDuff, American
                          Geophysical Union Fall Meeting, San Francisco, 1989.
